Case 4:17-cr-00187-Y Document 61 Filed 09/12/18 Page 1 of 5 Page|D 130

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION

UNITED STATES OF AMERICA

VS. CRIMINAL NO. 4:l7-CR-OOlS7-Y

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DAVID ALLEN DEVANEY, JR (Ol)

ORDER SETTING SCHEDULE FOR SENTENCING
(Form Revised NOVEMBER 2013)

The schedule for sentencing the defendant in this case and
all necessary events and requirements prior to the defendant's
sentencing are set out below.

1. The probation officer shall conduct a presentence
investigation and prepare a presentence report.

2. Counsel for the defendant shall be present at the initial
interview between the defendant and the probation officer (with
recent familiarity with U.S.S.G. § 3El.l, application note l(a))
and, within seven days from the date this order is filed, schedule
the interview with the probation officer assigned to prepare the
presentence report.

3. Counsel for United States of America, within seven days
of the defendant's conviction, shall deliver to the probation
officer a written report setting out with specificity:

a. all information. possessed by the office of the
United States attorney for the Northern District of Texas
that is relevant to (i) the sentencing of the defendant or
(ii) the acceptability of the plea agreement, if any,
including, but not limited to:

(1) all criminal history of the defendant;

(2) all criminal conduct of the defendant (whether
or not charged) occurring at any time;

(3) all statements made by the defendant
(including transcripts that already have been made of
recorded statements) and. all other notes, memos, or
other writings pertaining to any statement made by the
defendant;

(4) all investigative reports pertaining to the
offense of conviction and to relevant conduct; and

Case 4:17-cr-00187-Y Document 61 Filed 09/12/18 Page 2 of 5 Page|D 131

b. if the defendant was convicted after trial, a
written summary of any evidence presented at trial not
cumulative of the information provided. pursuant to 3.a.,
above, and that is relevant to the sentencing of the defendant
including especially, but not limited to, evidence that the
defendant obstructed justice and evidence of relevant
conduct; and

c. in any case in which restitution can be ordered
under 18 U.S.C. § 3663 or 18 U.S.C. § 3663A as a result of
the defendant's criminal conduct, to the extent known to the
government, the full names of all identified victims of
defendant's criminal conduct for which restitution can be
ordered, the amount of loss subject to restitution for each
identified victim, each identified victim's complete address,
and each identified victim's telephone number;

provided, however, that all information provided to the probation
officer pursuant to this paragraph is confidential and for the
exclusive use of that office and this Court.

4. If, during the presentence report investigation, a
probation officer determines that Texas Youth Commission ("TYC")
records are needed, the Court orders the TYC to release these
records to the probation officer assigned to prepare the
presentence report, acting in the performance of the officer's
official duties pursuant to FED. R. CRIM. P. 32. The specific
records that are to be released include documents pertaining to

the defendant's social history, court disposition records,
substance-abuse treatment records, psychological evaluations,
other mental-health treatment records, educational records,

general health records, adjustment-while-incarcerated records, and
release dates from the TYC.

5. The probation officer shall electronically file the
presentence report with the clerk of Court and deliver a judge's
copy to chambers,l no later than November 14, 2018.

6. Written objections to the presentence report in the form
illustrated in Exhibit A attached hereto, or written notice of no
objections, shall be electronically filed with the clerk of Court
and a judge's copy delivered to chambers no later than November
28, 2018.

 

1 All deliveries to the Court, either by mail or hand-delivery are to be
made to Carmen Bush, courtroom deputy, Eldon B. Mahon United States Courthouse,
501 West lOU‘Street, Room 504, Fort Worth, Texas 76102.

Judge's copies of all documents filed electronically are required to be
delivered to chambers within 24-hours of their electronic filing and in
accordance with the judge-specific requirements for Judge Means.

 

Case 4:17-cr-00187-Y Document 61 Filed 09/12/18 Page 3 of 5 Page|D 132

7. A written response to the opposing party's objections to
the presentence report shall be electronically filed with the clerk
of Court and a judge's copy delivered to chambers no later than
December 5, 2018.

8. If written objections to the presentence report have
been timely filed, the probation officer shall electronically file
an addendum to the presentence report and deliver a judge's copy
to chambers no later than December 12, 2018.

9. Each party may electronically file, and deliver a
judge's copy to chambers, a sentencing memorandum no later than
December 12, 2018.

lO. Any other item the parties wish the Court to consider in
connection with sentencing, including character letters and victim
statements, must be delivered to chambers no later than December
12, 2018.2 All characters letters and victim statements written
in a foreign language must be translated into English prior to
submission to the Court. No such letters or statements will be
considered by the Court if not provided to the opposing party at
least seven days prior to the sentencing hearing.

ll. Any motion for a sentence above or below the advisory
guideline range set out in the presentence report shall be
electronically filed with the clerk of Court and a copy of the
motion shall be delivered to chambers no later than December 19,
2018.3 Such a motion and any response thereto may be filed under
seal without being accompanied by a motion to seal provided that
the motion (or the response thereto) contains in its title the

notation, "UNDER SEAL PURSUANT TO SCHEDULING ORDER DATED
114

 

2 Character letters and victim statements are not to be filed (manually
or electronically) with the clerk of Court.

3 Any party moving for a sentence above or below the advisory guideline
range must set out in detail the facts that support such motion. The party
must also clearly indicate whether the party is seeking an upward or downward
departure under Chapters Four or Five of the United States Sentencing Guidelines
or is seeking a sentence outside the guidelines range under 18 U.S.C. § 3553(a),
or both. If the party is seeking a sentence under subsection (a) of § 3553,
the party must identify the paragraphs and subparagraphs of subsection (a) that
the facts implicate in support of a sentence above or below the advisory
guideline range and demonstrate in detail how they do so.

4 Motions for a sentence above or below the advisory guideline range filed
under seal may be filed electronically pursuant to LCrR 55.3.

 

Case 4:17-cr-OO187-Y Document 61 Filed 09/12/18 Page 4 of 5 Page|D 133

12. Any party served with a motion for a sentence above or
below the advisory guideline range shall electronically file a
response with the clerk of Court and a judge's copy shall be
delivered to chambers no later than December 26, 2018.

13. The probation officer shall deliver to chambers a
sentencing recommendation§ no later than noon on January 2, 2019.

14. The sentencing hearing is set for 10:00 a.m. on January
17, 2019.

15.` Before a party files a motion to continue sentencing, he
must confer with counse1 for the other party concerning What dates
he cannot be available for sentencing over the ensuing sixty- day
period The party s mo "on for continuance must then set out those
dates. The motion must’,lso inform the Court of how long the party
desires to postpone sentencing

Further, a motion for continuance may be filed under seal
without leave of Court provided that 1t contains in its title the
notation, "UNDER SEAL PURSUANT TO SCHEDULING ORDER DATED

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16. The parties must be prepared at the sentencing hearing
to present evidence, arguments, and legal authorities relating to
any factual or legal issues that are raised by the presentence
report or any addendum thereto or any objection to either.

17. All motions and responses to motions any party wishes
the Court to consider in connection with any sentencing matter
shall be electronically filed with the clerk and a judge's copy
delivered to chambers. If a party desires the sealing of any such
motion or response, the heading of the instrument must state that
the document is being filed "under seal" and, except as set out in
numbered paragraph ll, above, be accompanied by a motion to seal.

\-*"""
TERRS!R. ME;%S

UNITED STATES DISTRICT JUDGE

SIGNED September l2, 2018.

TRM/Cb

 

5 The recommendation is not to be filed.

 

Case 4:17-cr-00187-Y Document 61 Filed 09/12/18 Page 5 of 5 Page|D 134

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION

UNITED STATES OF AMERICA

VS. 4:OO-CR-OOO-Y

LMW!LOJWGWJ

JOHN DOE (l)

OBJECTIONS TO PRESENTENCE INVESTIGATION REPORT

 

TO THE HONORABLE TERRY R. MEANS, UNITED STATES DISTRICT JUDGE:

COMES NOW, JOHN DOE, defendant, by and through his attorney of
record Jane Doe, and hereby submits these written objections to the
presentence investigation report (PSR) dated January 3, 2014, as prepared
by U.S. probation officer, Don Smith, and shows as follows:

OBJECTION NO. l:
Defendant objects to paragraph 10 on page 3 of the PSR because

OBJECTION NO. 2:
Defendant objects to paragraph 25 on page 7 of the PSR because

WHEREFORE, Defendant respectfully submits these written objections
to presentence investigation report and requests the Court to sustain
the objections and to grant such other and further relief as may be
warranted.

Respectfully submitted,

 

Jane Doe

State Bar No. 00000000
FIRM NAME

ADDRESS

TELEPHONE NUMBER
FACSIMILE NUMBER

Attorney for John Doe

CERTIFICATE OF SERVICE

This is to certify that a true and correct copy of the above and
foregoing Defendant's Written Objections to Presentence Investigation
Report have been. served 'upon. the Assistant U.S. attorney' and U.S.
probation officer on this the day of , 2018.

 

Jane Doe

Exhibit ‘ A'

